Case 18-50348-btf7        Doc 17    Filed 09/12/18 Entered 09/12/18 09:47:22             Desc Main
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  1                           IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF MISSOURI
  2                                      ST. JOSEPH DIVISION

  3 IN RE:                                          )
                                                    )
  4 JASON WAYNE THOMAS                              )       Case No. 18-50348-BTF
      KATIE RACHEL THOMAS                           )
  5                                                 )
                              Debtors.              )
  6
                      TRUSTEE’S RESPONSE TO MOTION FOR RELIEF FROM STAY
  7                         AND REQUEST FOR DISMISSAL OF MOTION

  8          COMES NOW the trustee herein, Bruce E. Strauss, who responds to the motion for relief

  9 from stay filed by Nationstar Mortgage LLC, on the property located at 436 South Chestnut
 10 Street, Olathe, Kansas 66061, and states as follows:
 11          1.    That the 341 meeting of creditors is scheduled for October 5, 2018 at 8:30AM in St.
      Joseph, Missouri.
 12
             2.   That movant filed its motion for relief on August 30, 2018, prior to the scheduled
 13 meeting of creditors.
 14          3.   That the undersigned trustee has not had an opportunity to ascertain the fair market
      value of the real property as the meeting of creditors has not been held.
 15
             4.    The current renter has expressed interest in purchasing the property which would be
 16 beneficial to the estate, and the trustee needs time to investigate the potential sale. Therefore,
 17 the trustee requests that the court deny the pending motion for relief until such time as the trustee
      has had an opportunity to investigate this matter.
 18
             WHEREFORE, Bruce E. Strauss, trustee, prays an order of this court denying the pending
 19 motion for relief at this time and for such further relief as the court deems just, or in the
 20 alternative, dismissal of the motion.
                                            MERRICK, BAKER & STRAUSS, P.C.
 21
                                            By:      /s/ Bruce E. Strauss
 22                                                 Bruce E. Strauss      MO#26323
                                                    1044 Main Street, Suite 500
 23                                                 Kansas City, MO 64105
                                                    (816) 221-8855
 24                                                 (816) 221-7886
                                          CERTIFICATE OF SERVICE
 25
             I do hereby certify that a true and correct copy of the above and foregoing was served
 26 upon all persons requesting electronic notification on September 12, 2018.
 27
                                                    /s/ Bruce E. Strauss
 28                                                 Bruce E. Strauss


                                                        1
